                 Case 2:18-cr-00055-KJM Document 59 Filed 03/05/20 Page 1 of 3

 1 MCGREGOR W. SCOTT
   United States Attorney
 2 TIMOTHY H. DELGADO
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            Case No. 2:18-cr-0055-KJM

12                                 Plaintiff,             STIPULATION AND ORDER RE: SEVERANCE
                                                          AND SEPARATE TRIALS AS TO DEFENDANTS
13                           v.                           CAPENHURST AND MCGRAW

14   THOMAS WAYNE CAPENHURST
     and ROBERT LEE MCGRAW,
15
                                  Defendants.
16

17

18          Plaintiff United States of America, though its undersigned counsel, and defendants Thomas Wayne

19 Capenhurst and Robert Lee McGraw, through their counsel of record, stipulate as follows:

20          1.      The parties appeared before the Court on March 2, 2020, for a trial confirmation hearing.

21 (Dkt. No. 55.) At the hearing, the government and defendants confirmed for trial, but the parties jointly

22 requested that the Court sever the defendants’ trials. The Court tentatively granted the parties’ request

23 and scheduled separate trial dates on successive weeks for defendants Capenhurst and McGraw, subject

24 to the parties filing a stipulation and proposed order further explaining the basis for their request.

25          2.      As explained in detail in the criminal complaint, following his arrest, defendant McGraw

26 gave a lengthy videotaped statement, in which he implicated himself and co-defendant Capenhurst in the

27 offenses at issue. (Dkt. No. 1 at 7-8.) In at least one of the jury trials to come, the government will move

28 to admit this statement against McGraw as non-hearsay, under Federal Rule of Evidence 801(d)(2) (i.e.,


       STIPULATION AND (PROPOSED) ORDER RE:               1
       SEVERANCE AND SEPARATE TRIALS
                 Case 2:18-cr-00055-KJM Document 59 Filed 03/05/20 Page 2 of 3

 1 admission of a party opponent). This theory of admissibility would not apply to defendant Capenhurst,

 2 and given that the statement was made following McGraw’s arrest, it would probably not be admissible

 3 as a statement of a co-conspirator. See Fed. R. Evid. 801(d)(2)(E).

 4          3.      The government contends that McGraw’s videotaped statement is an essential piece of

 5 evidence in its case against McGraw, and the undersigned prosecutor expects that he will reference the

 6 statement repeatedly in his opening statement, in witness examinations, and in closing argument. The

 7 government also submits that if the defendants are tried together in a joint trial, it may not be able to use

 8 McGraw’s statement to full effect (if at all), see Bruton v. United States, 391 U.S. 123 (1968), and that

 9 the potential Confrontation Clause problem (for Capenhurst) cannot be mitigated by simply muting the

10 portions of the videotaped statement in which he is mentioned by name, see Richardson v. Marsh, 481

11 U.S. 200 (1987).

12          4.      Accordingly, the parties request that the Court sever the defendants’ trials, under Federal

13 Rule of Criminal Procedure 14(a). As discussed at the March 2, 2020 hearing, the parties request that

14 the Court set this matter for a four-day jury trial against defendant McGraw at 9:00 a.m. on April 20,

15 2020, followed by a four-day jury trial against defendant Capenhurst at 9:00 a.m. on April 27, 2020. In

16 the event McGraw’s case resolves before trial, the government and Capenhurst further request that the

17 jury trial as to Capenhurst be advanced to 9:00 a.m. on April 20, 2020.

18          IT IS SO STIPULATED.

19    Dated: March 3, 2020                                _/s/ Timothy H. Delgado
                                                          TIMOTHY H. DELGADO
20                                                        Assistant United States Attorney
                                                          Attorney for plaintiff United States of America
21

22    Dated: March 3, 2020                                _/s/ THD for Tim A. Pori
                                                          TIM A. PORI
23                                                        The Law Offices of Tim A. Pori
24                                                        Attorney for defendant Thomas Capenhurst

25
      Dated: March 3, 2020                                _/s/ THD for Douglas J. Beevers
26                                                        DOUGLAS J. BEEVERS
                                                          Assistant Federal Defender
27                                                        Attorney for defendant Robert McGraw
28


      STIPULATION AND (PROPOSED) ORDER RE:                2
      SEVERANCE AND SEPARATE TRIALS
              Case 2:18-cr-00055-KJM Document 59 Filed 03/05/20 Page 3 of 3

 1                                                  ORDER

 2          The Court has received and considered the parties’ Stipulation re: Severance and Separate Trials

 3 as to Defendants Capenhurst and McGraw, filed March 2, 2018. The Court finds that the Stipulation,

 4 which the Court incorporates by reference into this Order, establishes good cause to sever the defendants

 5 for trial purposes, under Federal Rule of Criminal Procedure 14(a).

 6          Accordingly, the Court grants the parties’ request and ORDERS that Capenhurst and McGraw be

 7 tried separately. This matter will be set for a four-day jury trial as to defendant Robert Lee McGraw at

 8 9:00 a.m. on April 20, 2020, followed by a four-day jury trial as to defendant Thomas Wayne Capenhurst

 9 at 9:00 a.m. on April 27, 2020. In the event McGraw’s case resolves before trial, Capenhurst’s trial will

10 be advanced to 9:00 a.m. on April 20, 2020. The Court incorporates by reference all other pretrial

11 deadlines established at the March 2, 2020 trial confirmation hearing, as memorialized in the Minutes

12 for that hearing. See Dkt. No. 55.

13          SO ORDERED.

14 Dated: March 5, 2020.

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      STIPULATION AND (PROPOSED) ORDER RE:              3
      SEVERANCE AND SEPARATE TRIALS
